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AO 450 (GAS Rev 09/20) Judgment in a Civil Case

 

United States District Court
Southern District of Georgia

LEVI ARTHUR FEDD,

Plaintiff,
JUDGMENT IN A CIVIL CASE

V. CASE NUMBER: © ¥920"128

JEFF COLEMAN, et al.,

Defendants.

CO Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
has rendered its verdict.

71 Decision by Court.This action came before the Court. The issues have been considered and a decision has been
rendered,

IT IS ORDERED AND ADJUDGED

that, pursuant to the Order of the Court dated May 25, 2021, the Magistrate Judge's Report and
Recommendation is adopted as the opinion of the Court. Therefore, Plaintiffs complaint is
dismissed without prejudice, his motion for preliminary injunction is denied as moot, and he is

denied in forma pauperis status on appeal. This case stands closed.

Approved by:

 

HON. LISA GODBEY WOOD, JUDGE
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

John E. Triplett, Clerk of Court

 

Date | Clerk

 

 

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